                                                                                          Case 2:22-cv-02116-SRB Document 15 Filed 02/21/23 Page 1 of 1



                                                                                   1    Nonnie L. Shivers, SBN 023460
                                                                                        Douglas (Trey) Lynn, SBN 028054
                                                                                   2    Ashley V. Cheff, SBN 036065
                                                                                        OGLETREE, DEAKINS, NASH,
                                                                                   3    SMOAK & STEWART, P.C.
                                                                                        2415 East Camelback Road, Suite 800
                                                                                   4    Phoenix, AZ 85016
                                                                                        Telephone: 602-778-3700
                                                                                   5    Facsimile: 602-778-3750
                                                                                        nonnie.shivers@ogletree.com
                                                                                   6    trey.lynn@ogletree.com
                                                                                        ashley.cheff@ogletree.com
                                                                                   7
                                                                                        Attorneys for Defendant
                                                                                   8    Guaranteed Rate, Inc.
                                                                                   9                               UNITED STATES DISTRICT COURT
                                                                                   10                                   DISTRICT OF ARIZONA
                                                                                   11   Jason Konopaske,                                   No. 2:22-cv-02116-SRB
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                   12                 Plaintiff,
                                                                                                                                           DEFENDANT’S NOTICE
                                                                                   13          v.                                          OF SETTLEMENT

                                                                                   14   Guaranteed Rate, Inc., a Delaware
                                                                                        Corporation,
                                                 Esplanade Center III, Suite 800
                                                   2415 East Camelback Road




                                                                                   15
                                                   Telephone: 602-778-3700




                                                                                                      Defendant.
                                                       Phoenix, AZ 85016




                                                                                   16
                                                                                   17          Defendant Guaranteed Rate, Inc., by and through undersigned counsel, hereby
                                                                                   18   notifies the Court that the parties have reached a settlement in this matter. The parties will
                                                                                   19   file a joint stipulation to dismiss this case with prejudice after completing the settlement
                                                                                   20   documentation.
                                                                                   21          DATED this 21st day of February 2023.
                                                                                   22
                                                                                                                                   OGLETREE, DEAKINS, NASH
                                                                                   23                                              SMOAK & STEWART, P.C.

                                                                                   24
                                                                                                                                   By: /s/ Douglas (Trey) Lynn
                                                                                   25                                                  Nonnie L. Shivers
                                                                                                                                       Douglas (Trey) Lynn
                                                                                   26                                                  2415 E. Camelback Road, Suite 800
                                                                                                                                       Phoenix, AZ 85016
                                                                                   27
                                                                                                                                       Attorneys for Defendant
                                                                                   28
